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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

         Plaintiff,

                 v.                              CRIM. NO. 14-391 (PAD)

 (32) JIMMY TORRES ROLDÁN,

         Defendant.



                                            ORDER

       The Court has evaluated the Report and Recommendation made by U.S. Magistrate Judge

Silvia Carreño-Coll regarding the Rule 11 proceeding of defendant [32] Jimmy Torres Roldán

(Docket No. 698), to which no objection has been filed. The Court finds the plea entered by the

defendant was knowingly, voluntary and intelligently entered with awareness of his rights and the

consequences of pleading guilty. The plea of defendant is therefore accepted and the defendant is

adjudged guilty as to Count One of the Indictment.

       This case was referred to the U.S. Probation Officer for preparation of a Presentence Report

on February 27, 2015.

       The Sentencing Hearing is set for June 17, 2015 at 9:30 AM.

       SO ORDERED.

       In San Juan, Puerto Rico, this 23rd day of March, 2015.

                                                     S/Pedro A. Delgado-Hernández
                                                     PEDRO A. DELGADO HERNANDEZ
                                                     United States District Judge
